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                                                                                               1 TUCKER ELLIS LLP
                                                                                                 Steven E. Lauridsen - SBN 246364
                                                                                               2 steven.lauridsen@tuckerellis.com
                                                                                                 David J. Steele - SBN 209797
                                                                                               3 david.steele@tuckerellis.com
                                                                                                 Howard A. Kroll – SBN 100981
                                                                                               4 howard.kroll@tuckerellis.com
                                                                                                 Dina Roumiantseva – SBN 300576
                                                                                               5 dina.roumiantseva@tuckerellis.com
                                                                                                 515 South Flower Street, Forty-Second Floor
                                                                                               6 Los Angeles, CA 90071
                                                                                                 Telephone:      213.430.3400
                                                                                               7 Facsimile:      213.430.3409
                                                                                               8 Attorneys for Plaintiff,
                                                                                                 Coachella Music Festival, LLC
                                                                                               9
                                                                                                                          UNITED STATES DISTRICT COURT
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                                                                                              10
                                                                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                              11
                                                                                                 COACHELLA MUSIC FESTIVAL, LLC, Case No. 2:24-cv-537
                                                                                              12
                                                                                                                    Plaintiff,          COMPLAINT FOR
                                                                                                                                        (1) TRADEMARK INFRINGEMENT
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                                                                                              13
                                                                                                       v.                               UNDER 15 U.S.C. § 1114; (2) FALSE
                                                                                              14                                        DESIGNATION OF ORIGIN UNDER
                                                                                                 SAFETY SHOT, INC.,                     15 U.S.C. § 1125; (3) FALSE
                                                                                              15                                        ADVERTISING UNDER 15 U.S.C.
                                                                                                                    Defendant.          § 1125; (4) VIOLATIONS OF CAL.
                                                                                              16                                        BUS. & PROF. CODE §§ 17200
                                                                                                                                        & 17500; (5) INDUCEMENT OF
                                                                                              17                                        TRESPASS; (6) CONVERSION; AND
                                                                                                                                        (7) TRESPASS TO CHATTELS
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                                                                                               1         Plaintiff Coachella Music Festival, LLC, by and through its attorneys
                                                                                               2 Tucker Ellis LLP, files its complaint against Defendant for injunctive relief and damages
                                                                                               3 as follows, with Plaintiff alleging upon actual knowledge with respect to itself and its own
                                                                                               4 acts and on information and belief as to all other matters.
                                                                                               5                                      INTRODUCTION
                                                                                               6         1.    As a publicly traded beverage company watched its stock plummet by
                                                                                               7 approximately 40% in a four-week period, it attempted to garner global exposure by issuing
                                                                                               8 and circulating a bogus press release, which stated that the company would have a brand
                                                                                               9 activation and presence at the Coachella Valley Music and Arts Festival (described in the
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                                                                                              10 press release as “where the top brands of the world engage with and support a thriving
                                                                                              11 music and arts scene”); however, the beverage company has no sponsorship relationship,
                                                                                              12 contract, or affiliation with the Festival, and despite repeated requests to delete the false
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                                                                                              13 press release and terminate the unauthorized promotion, the company failed to do so. As a
                                                                                              14 result, Plaintiff has no choice but to bring this lawsuit against the beverage company in
                                                                                              15 United States District Court for trademark infringement, unfair competition, and
                                                                                              16 conversion, among other causes of action.
                                                                                              17         2.    Plaintiff’s Coachella Valley Music and Arts Festival (“Coachella” or the
                                                                                              18 “Festival”) is one of the most critically acclaimed music and art festivals in the world, with
                                                                                              19 multiple bands, artists, food vendors, and stages. Held annually,1 Coachella is a world-
                                                                                              20 famous multi-day music and art festival which attracts hundreds of thousands of attendees
                                                                                              21 to Southern California each April. Since its inception in 1999, Coachella has become a
                                                                                              22 cultural phenomenon, with performances by some of the most high-profile performers in
                                                                                              23 the music industry. A wide range of Coachella-branded apparel and merchandise is sold
                                                                                              24 and advertised at Coachella, on the Festival website, through the Coachella app, and on
                                                                                              25 social media. Plaintiffs also offer a large variety of related goods and services in connection
                                                                                              26
                                                                                                   1
                                                                                              27   Coachella was not held in person in 2020 and 2021 due to the COVID-19 pandemic;
                                                                                                 however, a YouTube Original documentary, “Coachella: 20 Years in the Desert” debuted
                                                                                              28 online on April 10, 2020 and has been viewed at over 6,793,000 times. Coachella returned
                                                                                                 in person in 2022.
                                                                                                                                                2
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                                                                                               1 with Coachella, including a globally livestreamed webcast and subsequently posted video
                                                                                               2 recordings, which are viewed by millions of people around the world.
                                                                                               3            3.        Despite having no association with Plaintiff or its Coachella festival,
                                                                                               4 Defendant is intentionally trading on the goodwill of Plaintiff and the well-known
                                                                                               5 COACHELLA trademarks and service marks by falsely claiming in a press release “to be
                                                                                               6 [a] highlight of Coachella’s opening weekend” and falsely asserting that Defendant would
                                                                                               7 have a brand activation at the Festival, joining “other global beverage brands that have
                                                                                               8 created activations at Coachella including Heineken, Patron, Don Julio, 818 Tequila,
                                                                                               9 Aperol Spritz, and Evian,” each of which is or has been a legitimate sponsor of the
                                                                                                                            2
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                                                                                              10 Coachella festival. Defendant also falsely asserted that it would have “a giveaway for
                                                                                              11 consumers to win a chance to attend this extraordinary event during Coachella’s opening
                                                                                              12 weekend.”
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                                                                                              13            4.        Essentially, Defendant has stolen a sponsorship from Plaintiff without paying
                                                                                              14 for it and has even gone so far as to brag about its expected boost in sales “to take off as a
                                                                                              15 global brand,” including from this alleged “exposure at Coachella” where “people around
                                                                                              16 the world will be introduced to” Defendant’s product, all while knowing that its statements
                                                                                              17 concerning any association with Plaintiff or its Coachella festival are patently false and
                                                                                                                  3
                                                                                              18 misleading.
                                                                                              19            5.        While making these patently false and misleading statements, Defendant also
                                                                                              20 acknowledges that there are “significant risks and uncertainties affecting” its business
                                                                                                            4
                                                                                              21 plans. Accordingly, Defendant has not only traded on the goodwill of Coachella, but it has
                                                                                              22 also put Coachella’s reputation at risk by causing the public to associate these “risks and
                                                                                              23 uncertainties” with Plaintiff and its Coachella festival.
                                                                                              24            6.        Plaintiff made several requests for Defendant to retract the false statements
                                                                                              25
                                                                                              26 2 See Exhibit 7 at 90.
                                                                                              27 3
                                                                                                     Id. at 91.
                                                                                              28 4
                                                                                                     Id.
                                                                                                                                                     3
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                                                                                               1 and cancel its promotional event; however, Defendant has failed to delete the false
                                                                                               2 statements or cancel the event, thus leaving Plaintiff no choice but to file this action to
                                                                                               3 protect its COACHELLA trademarks and service marks from infringement and unfair
                                                                                               4 competition and to protect the public from confusion, false association, and false
                                                                                               5 advertising.
                                                                                               6                                        THE PARTIES
                                                                                               7        7.      Plaintiff Coachella Music Festival, LLC is a Delaware limited liability
                                                                                               8 company with its principal place of business in Los Angles, California.
                                                                                               9        8.      On information and belief, Defendant Safety Shot, Inc. is a Delaware
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                                                                                              10 corporation with its principal place of business in Jupiter, Florida.
                                                                                              11                               JURISDICTION AND VENUE
                                                                                              12        9.      This case is a civil action arising under the Lanham Act, 15 U.S.C. §§ 1114,
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                                                                                              13 1125, et seq., and California statutory and common law.
                                                                                              14        10.     This Court has subject matter jurisdiction over the federal claims in this
                                                                                              15 complaint pursuant to 15 U.S.C. § 1121 (action arising under the Lanham Act),
                                                                                              16 28 U.S.C. § 1331 (federal question), and 28 U.S.C. §§ 1338(a)-(b) (any act of Congress
                                                                                              17 relating to trademarks or unfair competition with substantial and related claim under
                                                                                              18 trademark laws).
                                                                                              19        11.     This Court has supplemental jurisdiction over the claims arising under
                                                                                              20 California law pursuant to 28 U.S.C. §§ 1338(b) and 1367(a) because the asserted state law
                                                                                              21 claims are substantially related to the claims arising under the Lanham Act such that they
                                                                                              22 form part of the same case or controversy.
                                                                                              23        12.     This Court has personal jurisdiction over Defendant because (1) Defendant
                                                                                              24 conducts business within California and this judicial district; (2) the causes of action
                                                                                              25 asserted in this complaint arise out of Defendant’s contacts with California and this judicial
                                                                                              26 district; (3) Defendant has caused tortious injury to Plaintiff in California and in this
                                                                                              27 judicial district; and (4) Defendant has undertaken acts of trademark and service mark
                                                                                              28 infringement, false designation of origin, unfair competition, false advertising, conversion,
                                                                                                                                                4
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                                                                                               1 and trespass to chattels that were directed at California with knowledge that the brunt of
                                                                                               2 injury would be felt by Plaintiff in California.
                                                                                               3         13.    Venue is proper under 28 U.S.C. § 1391 because a substantial part of the
                                                                                               4 events or omissions giving rise to the claims occurred in this judicial district, and a
                                                                                               5 substantial part of property that is the subject of the action is situated in this judicial district.
                                                                                               6            PLAINTIFF’S COACHELLA FESTIVAL, TRADEMARKS, AND
                                                                                               7                                        SERVICE MARKS
                                                                                               8         14.    Plaintiff owns and, with its partners, produces Coachella, one of the country’s
                                                                                               9 premier music and arts festivals. Printouts of several news stories about Coachella are
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                                                                                              10 attached to this Complaint as Exhibit 1. The caption from one photograph accompanying
                                                                                              11 a story from CNN reads, “[a]n aerial view taken from a helicopter on Sunday shows how
                                                                                              12 big the [2011] festival is.” Id. at 40.
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                                                                                              13         15.    Held annually at the Empire Polo Club in the beautiful Southern California
                                                                                              14 desert, Coachella is one of the most critically acclaimed music festivals in the world. The
                                                                                              15 entire festival site, which includes the festival grounds, on-sight camping, parking and
                                                                                              16 support operations, encompass over 800 acres.
                                                                                              17         16.    Coachella was first held in October 1999 and drew some 25,000 attendees into
                                                                                              18 the California desert near Palm Springs. Over the years,5 both Coachella’s attendance and
                                                                                              19 its prominence have grown. Attendance to Coachella, aggregated over the multi-day event,
                                                                                              20 now totals nearly 750,000 attendees per year.
                                                                                              21         17.    Coachella showcases some of the most groundbreaking artists from all genres
                                                                                              22 of music along with a substantial selection of art installations from all over the world.
                                                                                              23 Coachella attracts some of the world’s biggest mega-stars to perform. The list of artists
                                                                                              24 who have performed includes AC/DC, Bad Bunny, Beyoncé, Beastie Boys, Bjork,
                                                                                              25 BLACKPINK, Cardi B, Daft Punk, Dr. Dre & Snoop Dogg, Guns N’ Roses, Harry Styles,
                                                                                              26 Jane’s Addiction, Jay-Z, Lady Gaga, Leonard Cohen, Madonna, Paul McCartney, Prince,
                                                                                              27
                                                                                                   5
                                                                                                    Coachella was next held in April 2001 and has been held annually thereafter, except in
                                                                                              28
                                                                                                   2020 and 2021, when the Festival was postponed due to the COVID-19 pandemic.
                                                                                                                                                   5
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                                                                                               1 Radiohead, Red Hot Chili Peppers, The Cure, and The Weeknd, to list just a few.
                                                                                               2        Coachella is about more than just music. The Festival has camping facilities for some
                                                                                               3 15,000 attendees (complete with a karaoke lounge and a general store), on-site lodges, hotel
                                                                                               4 packages, and an amazing selection of food and beverages from a wide range of restaurants.
                                                                                               5 The Festival also features extensive art exhibits, including sculpture and interactive and
                                                                                               6 immersive art. The music, the food, the art, and of course, the fellowship of other attendees,
                                                                                               7 taken together, makes Coachella more than just a concert to attend—it truly is an
                                                                                               8 experience.
                                                                                               9        18.    Coachella is widely recognized for its fashion and has developed a reputation
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                                                                                              10 as an unofficial kick-off to summer styles, attracting sponsorships from recognized and
                                                                                              11 esteemed international brands such as Hennes & Mauritz, Ray-Ban, BMW, Adidas,
                                                                                              12 Swarovski, and more.
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                                                                                              13        19.    Numerous approved beverage companies such as Absolut, Heineken, Aperol
                                                                                              14 Spritz, White Claw, and Coca-Cola sponsor Coachella.
                                                                                              15        20.    Plaintiff is very selective concerning with whom it will enter into a
                                                                                              16 sponsorship arrangement, and Coachella sponsorships are property worth substantial sums
                                                                                              17 due to the exposure they garner.
                                                                                              18        21.    Coachella branded merchandise available to Festival attendees includes a
                                                                                              19 wide range of apparel for men, women, and children.
                                                                                              20        22.    Plaintiff   owns     and   operates   Coachella’s     website,   available    at
                                                                                              21 www.coachella.com. This website has received over 20 million page views in 2019,
                                                                                              22 hosting nearly 8.5 million users over nearly 12 million sessions. Between January 1, 2022
                                                                                              23 and May 1, 2022, the www.coachella.com website received over 15 million page views
                                                                                              24 and hosted more than 6 million users in over 10 million sessions. Screen captures of
                                                                                              25 Plaintiff’s website, available at www.coachella.com, are attached to this Complaint as
                                                                                              26 Exhibit 2.
                                                                                              27        23.    Plaintiff also produces a mobile app for Coachella for use on iPhone / iPad
                                                                                              28 and Android devices. Screen captures of Plaintiff’s app from iTunes and Google are
                                                                                                                                                6
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                                                                                               1 attached to this Complaint as Exhibit 3.
                                                                                               2         24.   Plaintiff extensively promotes Coachella through a variety of media,
                                                                                               3 including via the Internet on its website, available at www.coachella.com, and on numerous
                                                                                               4 social media sites including YouTube, Facebook, Instagram, Pinterest, and Twitter. Screen
                                                                                               5 captures of Coachella’s Facebook, Twitter, and Instagram accounts are attached to this
                                                                                               6 Complaint as Exhibit 4. As can be seen from Exhibit 4, Coachella’s YouTube account has
                                                                                               7 over 3.25 million subscribers; its Facebook account has over 2.4 million followers; its
                                                                                               8 Twitter account has over 1 million followers; and its Instagram account has over
                                                                                               9 2.8 million followers.
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                                                                                              10         25.   Plaintiff and its affiliates have invested substantial sums in media and related
                                                                                              11 content to promote Coachella.
                                                                                              12         26.   An Internet search using the Google search engine for the word “Coachella”
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                                                                                              13 provides over 194 million hits. See Exhibit 4 at 71. A cursory review of the results shows
                                                                                              14 nearly every hit in the first four pages of results was related to Plaintiff’s festival; and the
                                                                                              15 first search result was to Plaintiff’s www.coachella.com website.
                                                                                              16         27.   Tracked online media impressions (advertisements) for the Coachella festival
                                                                                              17 from April 8, 2022 to April 29, 2022 exceeded 111 billion impressions.
                                                                                              18         28.   In 2023, over 500 credentialed journalists, from print media, radio, television,
                                                                                              19 and the Internet reported live from Coachella. The journalists represented media outlets
                                                                                              20 such as Time, Billboard, and the BBC.
                                                                                              21         29.   Plaintiff owns the exclusive trademark and service mark rights to the
                                                                                              22 distinctive COACHELLA trademark and service mark, having used the mark in connection
                                                                                              23 with the Festival and related goods and services since the first Coachella in 1999.
                                                                                              24         30.   Similarly, Plaintiff owns the exclusive trademark and service mark rights to
                                                                                              25 the distinctive COACHELLA (stylized) trademark and service mark, having used the mark
                                                                                              26 in connection with the Festival and related goods and services since the first Festival
                                                                                              27 in 1999. The stylized mark is depicted below:
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                                                                                               1        31.    Plaintiff also owns the exclusive trademark rights to the distinctive
                                                                                               2 COACHELLA VALLEY MUSIC AND ARTS FESTIVAL trademark and service mark,
                                                                                               3 having used the mark in connection with the Festival and related goods and services since
                                                                                               4 the first Festival in 1999.
                                                                                               5        32.    The COACHELLA, COACHELLA (stylized), and COACHELLA VALLEY
                                                                                               6 MUSIC AND ARTS FESTIVAL marks are collectively referred to in this complaint as the
                                                                                               7 “COACHELLA Marks.”
                                                                                               8        33.    Since 1999, Plaintiff’s use of the COACHELLA Marks has been extensive,
                                                                                               9 continuous, and substantially exclusive.
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                                                                                              10        34.    Coachella and the COACHELLA Marks have been the subject of extensive
                                                                                              11 newspaper articles, magazine articles, television, and Internet news stories. See Exhibit 1.
                                                                                              12        35.    Plaintiff has made, and continues to make, a substantial investment of time,
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                                                                                              13 effort and expense in the production and promotion of Coachella and the COACHELLA
                                                                                              14 Marks.
                                                                                              15        36.    The COACHELLA Marks are unique and distinctive and, as such, designate
                                                                                              16 a single source of origin.
                                                                                              17        37.    As a result of Plaintiff’s efforts and use, the COACHELLA Marks have come
                                                                                              18 to be recognized by the public and members of the trade as being associated exclusively
                                                                                              19 with Plaintiff and the Coachella Valley Music and Arts Festival.
                                                                                              20        38.    Plaintiff expends substantial effort and expense to protect the COACHELLA
                                                                                              21 Marks’ distinctiveness in the marketplace. Plaintiff extensively polices unauthorized use
                                                                                              22 of the COACHELLA Marks and has sent countless cease and desist letters to combat
                                                                                              23 misuse or unauthorized use of the COACHELLA Marks.
                                                                                              24        39.    Plaintiff has filed numerous domain name complaints to remedy the
                                                                                              25 registration or use of identical or confusingly similar Internet domain names.
                                                                                              26        40.    Based on Plaintiff’s use, including the use described herein, Plaintiff owns
                                                                                              27 extensive common law trademark rights in the COACHELLA Marks.
                                                                                              28        41.    In addition to their extensive common law rights, Plaintiff owns numerous
                                                                                                                                               8
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                                                                                              1 United States registrations and applications for the COACHELLA Marks. Specifically,
                                                                                              2 Plaintiff owns:
                                                                                              3              a.   United States Service Mark Registration No. 3,196,119 for
                                                                                              4                   COACHELLA.          This       Registration   is   incontestable     under
                                                                                              5                   15 U.S.C. § 1065;
                                                                                              6              b.   United   States     Trademark       Registration   No.   4,270,482     for
                                                                                              7                   COACHELLA.          This       Registration   is   incontestable     under
                                                                                              8                   15 U.S.C. § 1065;
                                                                                              9              c.   United States Service Mark Registration No. 3,196,129 for
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                                                                                              10                  COACHELLA (stylized). This Registration is incontestable under
                                                                                              11                  15 U.S.C. § 1065;
                                                                                              12             d.   United   States     Trademark       Registration   No.   4,266,400     for
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                                                                                              13                  COACHELLA (stylized). This Registration is incontestable under
                                                                                              14                  15 U.S.C. § 1065;
                                                                                              15             e.   United   States     Trademark       Registration   No.   5,235,905     for
                                                                                              16                  COACHELLA.          This       Registration   is   incontestable     under
                                                                                              17                  15 U.S.C. § 1065
                                                                                              18             f.   United   States     Trademark       Registration   No.   5,235,903     for
                                                                                              19                  COACHELLA (stylized). This Registration is incontestable under
                                                                                              20                  15 U.S.C. § 1065;
                                                                                              21             g.   United States Service Mark Registration No. 3,196,128 for
                                                                                              22                  COACHELLA VALLEY MUSIC AND ARTS FESTIVAL. This
                                                                                              23                  Registration is incontestable under 15 U.S.C. § 1065;
                                                                                              24             h.   United   States     Trademark       Registration   No.   3,965,563     for
                                                                                              25                  COACHELLA VALLEY MUSIC AND ARTS FESTIVAL. This
                                                                                              26                  Registration is incontestable under 15 U.S.C. § 1065; and
                                                                                              27
                                                                                              28
                                                                                                                                             9
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                                                                                               1               i.        United    States   Trademark     Registration    No.    4,008,651    for
                                                                                               2                         COACHELLA VALLEY MUSIC AND ARTS FESTIVAL. This
                                                                                               3                         Registration is incontestable under 15 U.S.C. § 1065.
                                                                                               4 The registration certificates for each of these registrations are attached to this complaint as
                                                                                               5 Exhibit 5.
                                                                                               6        42.    Having been widely promoted to the general public, extensively used in
                                                                                               7 interstate commerce, and having exclusively identified Plaintiff and its goods and services,
                                                                                               8 the COACHELLA Marks symbolize the tremendous goodwill associated with Plaintiff and
                                                                                               9 Plaintiff’s Festival.
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                                                                                              10        43.    The COACHELLA Marks are a property right of incalculable value.
                                                                                              11        44.    Passes to Coachella are revocable licenses.
                                                                                              12        45.    Except for vehicle passes, each Coachella pass is worn around the wrist by
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                                                                                              13 the user. Once installed around the wrist, the wristband is designed not to be removeable,
                                                                                              14 a feature that prevents each pass’s transfer from an authorized user to an unauthorized user.
                                                                                              15        46.    Each Coachella pass plainly states on its faced that the pass is subject to the
                                                                                              16 wristband          terms     of     use     (“Terms”),      which       are     accessible    at
                                                                                              17 https://www.aegpresents.com/festival-ticket-terms/ and which make clear “Tickets
                                                                                              18 [defined to include tickets, wristbands, passes, permissions, authorizations, and entry
                                                                                              19 methods] evidence a revocable license to enter the Event property. Violation of these
                                                                                              20 Terms of use may result in revocation of the license without prior notice.” The Terms,
                                                                                              21 screen captures of which are attached as Exhibit 6, expressly prohibit unauthorized
                                                                                              22 commercial use or transfer of Coachella passes, contain a clause that a breach of the Terms
                                                                                              23 will cause irreparable injury to Plaintiff, contain a clause that the passholder consents to
                                                                                              24 injunctive relief to prevent or mitigate that irreparable injury, and contain the following
                                                                                              25 language:
                                                                                              26                       UNAUTHORIZED TRANSFERS PROHIBITED
                                                                                              27               All publicly sold Tickets are for use by the original authorized
                                                                                              28        purchaser and their invited guest(s) only (each an "Authorized Purchaser"),
                                                                                                                                                 10
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                                                                                               1       and are not transferable by the Authorized Purchaser, any of their invited
                                                                                               2       guests, or any other person. Likewise, all Tickets provided to performing
                                                                                               3       artists, production personnel, vendors, sponsors, and other guests of the
                                                                                               4       Event producer (each an “Authorized Recipient”), are for use by the
                                                                                               5       Authorized Recipient and his or her invited guest(s) only, and are not
                                                                                               6       transferable by the Authorized Recipient, his or her invited guest(s), or any
                                                                                               7       other person. Authorized Purchasers and Authorized Recipients are referred
                                                                                               8       to individually as a "User." Tickets obtained from unauthorized sources may
                                                                                               9       be counterfeit and are worthless.
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                                                                                              10             Except as provided herein, Tickets may not be sold, transferred, or
                                                                                              11       used for any form of commercial or trade purposes, including but not
                                                                                              12       limited to promotions, contests, commercial or advertising purposes,
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                                                                                              13       housing, hotels, vacation rentals, sweepstakes, charitable giveaways, or other
                                                                                              14       activities absent the Event producer’s prior written consent. No
                                                                                              15       sponsorship, on site marketing, sampling, vending, coupon/product
                                                                                              16       distribution, or other promotional activity may be conducted at the Event
                                                                                              17       (inclusive of parking lots), absent the Event producer’s prior written approval
                                                                                              18       in each instance. Any Tickets used in violation of this provision shall be
                                                                                              19       deemed revoked and void, and their bearers deemed trespassers at the
                                                                                              20       Event.
                                                                                              21             Resale or attempted resale of Tickets is grounds for termination of
                                                                                              22       the license and cancellation of the Ticket.
                                                                                              23                                       *     *       *
                                                                                              24    IRREPARABLE INJURY AND CONSENT TO INJUNCTIVE RELIEF
                                                                                              25             Any breach of these Terms by the User will cause irreparable injury to
                                                                                              26       Event producer and User consents to injunctive relief to prevent or mitigate
                                                                                              27       any irreparable injury.
                                                                                              28 Exhibit 6 (emphasis added).
                                                                                                                                             11
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                                                                                               1                            DEFENDANT’S UNLAWFUL CONDUCT
                                                                                               2          47.   Defendant purports to be a wellness and functional beverage company and the
                                                                                               3 maker of a beverage it calls Safety Shot, which purportedly “reduc[es] blood alcohol
                                                                                                                                  6
                                                                                               4 content and boost[s] clarity.”
                                                                                               5          48.   On or about January 3, 2024, Defendant caused to be released a series of press
                                                                                               6 releases or related media concerning Safety Shot. A copy of one such press release is
                                                                                               7 attached as Exhibit 7.
                                                                                               8          49.   As can be seen from Exhibit 7, Defendant—while leading with its stock ticker
                                                                                               9 symbol—falsely claimed “to be [a] highlight of Coachella’s opening weekend”, falsely
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                                                                                              10 claimed to have a brand activation at the Festival, and falsely asserted that Defendant “joins
                                                                                              11 other global beverage brands that have created activations at Coachella including
                                                                                              12 Heineken, Patron, Don Julio, 818 Tequila, Aperol Spritz, and Evian,” each of which is or
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                                                                                              13 has been a legitimate sponsor of the Coachella festival. Id. at 90.
                                                                                              14          50.   Defendant refers in this press release to their unauthorized event as the “Safety
                                                                                              15 Shot House Coachella experience.” Id.
                                                                                              16          51.   Further, while acknowledging that Coachella is “[o]ne of the highest profile
                                                                                              17 events in the music and arts world,” Defendant further states that, on January 3, 2024, it
                                                                                              18 “announced its inaugural brand activation with ‘Safety Shot House’ at the Coachella Valley
                                                                                              19 Music and Arts Festival on April 12 –14, 2024.” Id. Defendant made this statement even
                                                                                              20 though it is not a sponsor of the Festival and will not be having a “Safety Shot House” on
                                                                                              21 the Coachella festival grounds.
                                                                                              22          52.   Defendant fully admits that it is targeting Plaintiff’s Festival attendees,
                                                                                              23 referring to them in the press release as “an ideal demographic for Safety Shot.” Id.
                                                                                              24          53.   Defendant acknowledges that this false association was created to provide a
                                                                                              25 “very high-profile launch for [its] brand.” Id. In that same release, Defendant bragged about
                                                                                              26 its expected boost in sales “to take off as a global brand,” including from this alleged
                                                                                              27
                                                                                              28 6
                                                                                                     See Exhibit 7 at 91.
                                                                                                                                                12
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                                                                                               1 “exposure at Coachella” such that “people around the world will be introduced to”
                                                                                               2 Defendant’s product, and it did all of this while knowing that its statements concerning any
                                                                                               3 association with Plaintiff or Coachella were patently false. Id. at 91.
                                                                                               4         54.    In truth, Defendant has effectively taken a sponsorship from Plaintiff without
                                                                                               5 paying for it.
                                                                                               6         55.    This unlawfully acquired sponsorship had the desired effect: on
                                                                                               7 January 9, 2024, an investment publication posted an article stating that people should
                                                                                               8 invest in Defendant, attached as Exhibit 8, stating that Defendant’s product’s “initial
                                                                                               9 introduction events include . . . the Coachella Valley Music and Arts Festival in April.”
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                                                                                              10 Exhibit 8 at 97.
                                                                                              11         56.    In addition, the false “news” of the purported launch at Coachella spread like
                                                                                              12 wildfire through press and media outlets. A Google search for “safety shot” and “drink”
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                                                                                              13 and “Coachella” currently results in 3,080 hits, as shown in search results attached as
                                                                                              14 Exhibit 9. Thus, the consumer confusion and false association resulting from Defendant’s
                                                                                              15 knowingly false statements is likely to be widespread and pervasive.
                                                                                              16         57.    While making patently false statements designed to create a false association
                                                                                              17 with Plaintiff and with the world-famous Festival, Defendant also acknowledges that there
                                                                                              18 are “significant risks and uncertainties affecting” its business plans. See Exhibit 7 at 91.
                                                                                              19
                                                                                                         58.    Defendant claims its product reduces blood alcohol content, boosts clarity,
                                                                                              20
                                                                                                   accelerates the detoxification process, and provides other benefits; however, Plaintiff is
                                                                                              21
                                                                                                   unaware of whether Defendant has obtained FTC or FDA approval to make its various
                                                                                              22
                                                                                                   statements or whether there has been any rigorous testing of Defendant’s claims concerning
                                                                                              23
                                                                                                   the product, including whether it actually performs as claimed and whether it is safe to
                                                                                              24
                                                                                                   consume.
                                                                                              25
                                                                                                         59.    Because Defendant has created a false association between its product and
                                                                                              26
                                                                                                   Plaintiff’s Festival, Plaintiff’s reputation and that of the Festival will be damaged to the
                                                                                              27
                                                                                                   extent anyone experiences harm from consuming or related to the consumption of
                                                                                              28
                                                                                                   Defendant’s product or is disappointed with the quality or effectiveness of the product.
                                                                                                                                               13
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                                                                                               1        60.    Moreover, Defendant’s blatant false association with Plaintiff’s Festival
                                                                                               2 appears to be intended to increase interest from investors and manipulate the value of its
                                                                                               3 stock, and Plaintiff’s reputation and that of the Festival will therefore be further damaged
                                                                                               4 to the extent that Defendant’s business practices result in negative publicity or investor
                                                                                               5 losses.
                                                                                               6        61.    In addition, as part of the unauthorized sponsorship, Defendant made plain in
                                                                                               7 one of its press releases that it “will have a giveaway for consumers to win a chance to
                                                                                               8 attend this extraordinary event during Coachella’s opening weekend.” Exhibit 7 at 91.
                                                                                               9 Accordingly, on information and belief, Defendant is planning to host an unauthorized
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                                                                                              10 promotional event, and may attempt to transfer Coachella wristbands without Plaintiff’s
                                                                                              11 consent and in express violation of the wristbands’ Terms.
                                                                                              12        62.    By using a false and unauthorized endorsement to offer promotional
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                                                                                              13 Coachella passes, Defendant has caused members of the public to be confused or deceived
                                                                                              14 into believing that Plaintiff authorized Defendant to engage in such conduct when in fact
                                                                                              15 Plaintiff has not. The false and misleading representations that Defendant has made, and
                                                                                              16 continues to make, in connection with this unauthorized commercial exploitation
                                                                                              17 misrepresents the qualities of the goods Defendant is offering—purportedly valid
                                                                                              18 Coachella festival passes that are in fact invalid upon transfer, or valid for an entirely
                                                                                              19 different event and location.
                                                                                              20        63.    Plaintiff has contacted Defendant and demanded that Defendant cancel its
                                                                                              21 “Safety Shot House Coachella experience” and retract all press releases and media
                                                                                              22 concerning the unauthorized event and return any passes used for promotional purposes for
                                                                                              23 a refund.
                                                                                              24        64.    While Defendant has acknowledged that it would not seek to host its event on
                                                                                              25 Coachella’s    festival   grounds—an     act    that   would   constitute   trespassing—and
                                                                                              26 acknowledged that it will not use Plaintiff’s intellectual property in the future, Defendant
                                                                                              27 asserts that it cannot take down the prior press releases and may proceed with an event in
                                                                                              28 the vicinity of the Coachella festival, despite Plaintiff’s demands and the fact that the
                                                                                                                                                14
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                                                                                               1 event’s branding is now inextricably tied to the Festival’s branding.
                                                                                               2                 HARM TO PLAINTIFF AND THE GENERAL PUBLIC
                                                                                               3         65.   Defendant’s unauthorized use of the COACHELLA Marks and unauthorized
                                                                                               4 association with Plaintiff and the Coachella festival creates a likelihood of confusion as to
                                                                                               5 source, sponsorship, affiliation, and/or endorsement of Defendant and its goods and
                                                                                               6 services and is likely to suggest a sponsorship, license, or association of Defendant with
                                                                                               7 Plaintiff, despite the fact that no such relationship exists.
                                                                                               8         66.   Defendant’s activities have irreparably harmed and, if not enjoined, will
                                                                                               9 continue to irreparably harm Plaintiff and the COACHELLA Marks, particularly the
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                                                                                              10 goodwill and reputation associated therewith.
                                                                                              11         67.   Defendant’s activities have irreparably harmed, and if not enjoined, will
                                                                                              12 continue to irreparably harm the general public, who has an inherent interest in being free
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                                                                                              13 from confusion, mistake, and deception.
                                                                                              14                                 FIRST CAUSE OF ACTION
                                                                                              15                     (Trademark Infringement Under 15 U.S.C. § 1114)
                                                                                              16         68.   Plaintiff realleges and incorporates by reference each of the allegations
                                                                                              17 contained in all preceding paragraphs of this Complaint as though fully set forth here.
                                                                                              18         69.   Defendant’s use of the federally registered COACHELLA Marks is likely to
                                                                                              19 cause confusion, or to cause mistake, or to deceive the relevant public that Defendant’s
                                                                                              20 goods or services are authorized by, sponsored by, approved by, or affiliated with Plaintiff.
                                                                                              21         70.   The above-described acts of Defendant constitute trademark infringement in
                                                                                              22 violation of 15 U.S.C. § 1114(1), entitling Plaintiff to relief.
                                                                                              23         71.   Defendant has unfairly profited from the trademark infringement alleged, and
                                                                                              24 Plaintiff is entitled to a disgorgement of Defendant’s profits (if any) pursuant to
                                                                                              25 15 U.S.C. § 1117.
                                                                                              26         72.   By reason of Defendant’s acts of trademark infringement, Plaintiff has
                                                                                              27 suffered damage to the goodwill associated with the COACHELLA Marks, in amounts to
                                                                                              28 be determined.
                                                                                                                                                15
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                                                                                               1         73.     Defendant’s acts of trademark infringement have irreparably harmed and, if
                                                                                               2 not enjoined, will continue to irreparably harm Plaintiff and its federally registered
                                                                                               3 trademarks.
                                                                                               4         74.     Defendant’s acts of trademark infringement have irreparably harmed, and if
                                                                                               5 not enjoined, will continue to irreparably harm the general public which has an interest in
                                                                                               6 being free from confusion, mistake, and deception.
                                                                                               7         75.     By reason of Defendant’s acts and continued recalcitrant behavior, Plaintiff’s
                                                                                               8 remedy at law is not adequate to compensate it for the injuries inflicted by Defendant.
                                                                                               9 Accordingly, Plaintiff is entitled to entry of a temporary restraining order against
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                                                                                              10 Defendants and preliminary and permanent injunctive relief pursuant to 15 U.S.C. § 1116.
                                                                                              11         76.     By reason of Defendant’s willful and repeated acts of trademark infringement
                                                                                              12 and its recalcitrant behavior, Plaintiff is entitled to damages, and it is entitled to have those
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                                                                                              13 damages trebled under 15 U.S.C. § 1117.
                                                                                              14         77.     This is an exceptional case making Plaintiff eligible for an award of attorneys’
                                                                                              15 fees under 15 U.S.C. § 1117.
                                                                                              16                                SECOND CAUSE OF ACTION
                                                                                              17               (Trademark Infringement and False Designation of Origin Under
                                                                                              18                                       15 U.S.C. § 1125(a))
                                                                                              19         78.     Plaintiff realleges and incorporates by reference each of the allegations
                                                                                              20 contained in all preceding paragraphs of this Complaint as though fully set forth here.
                                                                                              21         79.     Defendant’s use of the COACHELLA Marks is likely to cause confusion, or
                                                                                              22 to cause mistake, or to deceive the relevant public that Defendant’s goods or services are
                                                                                              23 authorized by, sponsored by, approved by, or affiliated with Plaintiff.
                                                                                              24         80.     The above-described acts of Defendant constitute trademark infringement and
                                                                                              25 false designation of origin in violation of 15 U.S.C. § 1125(a), entitling Plaintiff to relief.
                                                                                              26         81.     Defendant has unfairly profited from the trademark infringement alleged, and
                                                                                              27 Plaintiff is entitled to a disgorgement of Defendant’s profits (if any) pursuant to
                                                                                              28 15 U.S.C. § 1117.
                                                                                                                                                 16
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                                                                                               1         82.    By reason of Defendant’s acts of trademark infringement and false
                                                                                               2 designation of origin, Plaintiff has suffered damage to the goodwill associated with the
                                                                                               3 COACHELLA Marks, in amounts to be determined.
                                                                                               4         83.    Defendant’s acts of trademark infringement and false designation of origin
                                                                                               5 have irreparably harmed and, if not enjoined, will continue to irreparably harm Plaintiff
                                                                                               6 and its COACHELLA Marks.
                                                                                               7         84.    Defendant’s acts of trademark infringement and false designation of origin
                                                                                               8 have irreparably harmed, and if not enjoined, will continue to irreparably harm the general
                                                                                               9 public which has an interest in being free from confusion, mistake, and deception.
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                                                                                              10         85.    By reason of Defendant’s acts and continued recalcitrant behavior, Plaintiff’s
                                                                                              11 remedy at law is not adequate to compensate it for the injuries inflicted by Defendant.
                                                                                              12 Accordingly, Plaintiff is entitled to entry of a temporary restraining order against
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                                                                                              13 Defendant and preliminary and permanent injunctive relief pursuant to 15 U.S.C. § 1116.
                                                                                              14         86.    The above-described acts of Defendant were willful and repeated.
                                                                                              15         87.    By reason of Defendant’s willful and repeated acts of trademark infringement
                                                                                              16 and its recalcitrant behavior, Plaintiff is entitled to damages, and it is entitled to have those
                                                                                              17 damages trebled under 15 U.S.C. § 1117.
                                                                                              18         88.    This is an exceptional case making Plaintiff eligible for an award of attorneys’
                                                                                              19 fees under 15 U.S.C. § 1117.
                                                                                              20                                 THIRD CAUSE OF ACTION
                                                                                              21                        (False Advertising Under 15 U.S.C. § 1125(a))
                                                                                              22         89.    Plaintiff realleges and incorporates by reference each of the allegations
                                                                                              23 contained in all preceding paragraphs of this Complaint as though fully set forth here.
                                                                                              24         90.    Defendant has made false and/or misleading advertisements.
                                                                                              25         91.    The advertisements deceived and/or had the capability to deceive consumers.
                                                                                              26         92.    The deception has had a material effect on purchasing decisions, whether that
                                                                                              27 be for Defendant’s product or Defendant’s stock or otherwise.
                                                                                              28         93.    The misrepresented products and services affected interstate commerce.
                                                                                                                                                 17
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                                                                                               1         94.   Plaintiff has been injured by the false advertising in an amount according to
                                                                                               2 proof, including Plaintiff’s actual damages, the costs of corrective advertising, Defendant’s
                                                                                               3 profits, and the costs of this action.
                                                                                               4         95.   This is an exceptional case where Defendant’s conduct was willful and
                                                                                               5 deliberate.
                                                                                               6         96.   Plaintiff is entitled to injunctive relief under 15 U.S.C. § 1116.
                                                                                               7         97.   Plaintiff is entitled to have its recovery trebled under 15 U.S.C. § 1117.
                                                                                               8         98.   Plaintiff is entitled to an award of its attorneys’ fees under 15 U.S.C. § 1117.
                                                                                               9                               FOURTH CAUSE OF ACTION
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                                                                                              10      (Unfair or Deceptive Acts or Practices in Violation of Cal. Bus. & Prof. Code
                                                                                              11                      §§ 17200 & 17500 and California Common Law)
                                                                                              12         99.   Plaintiff realleges and incorporates by reference each of the allegations
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                                                                                              13 contained in all preceding paragraphs of this Complaint as though fully set forth here.
                                                                                              14         100. Plaintiff is informed and believe that Defendant is in direct competition with
                                                                                              15 Plaintiff.
                                                                                              16         101. Defendant’s willful, knowing, and unauthorized promotion, advertisement,
                                                                                              17 sale and offering for sale of infringing goods/services causing confusion as to the source
                                                                                              18 of the services (including the “Safety Shot House” and all statements associating that event
                                                                                              19 with Plaintiff and Coachella) and causing harm to Plaintiff’s goodwill is an unlawful
                                                                                              20 appropriation of Plaintiff’s exclusive rights in the COACHELLA Marks.
                                                                                              21         102. Members of the public are likely to be confused and deceived into believing
                                                                                              22 that they will obtain valid passes to Coachella festival passes from Defendant.
                                                                                              23         103. Defendant’s conduct in offering to transfer and/or transferring Coachella
                                                                                              24 festival passes without Plaintiff’s consent constitutes an inducement of the recipients to
                                                                                              25 commit a trespass, and a breach of the wristband terms of use.
                                                                                              26         104. At all relevant times, Defendant has been aware that Coachella is a private
                                                                                              27 event, that Plaintiff does not permit the resale or transfer of passes to these private events,
                                                                                              28 and that pass holders who obtained their passes from Defendant will possess void passes
                                                                                                                                                18
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                                                                                               1 and are subject to eviction from the relevant festival as trespassers. Nevertheless,
                                                                                               2 Defendant has offered to transfer and/or has transferred such passes.
                                                                                               3        105. Members of the public are likely to be confused and deceived into believing
                                                                                               4 the passes they win or otherwise obtain from Defendant are genuine and that, if they win
                                                                                               5 or otherwise obtain Coachella passes from Defendant, they will be welcome at the Festival.
                                                                                               6        106. Defendant’s conduct as described herein constitutes unfair competition,
                                                                                               7 including unfair or fraudulent business acts or practices and misleading advertising, in
                                                                                               8 violation of California Business and Professions Code §§ 17200 and 17500, and under the
                                                                                               9 common law of the State of California.
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                                                                                              10        107. Pursuant to California Business and Professions Code § 17203, Defendant is
                                                                                              11 required to disgorge and restore to Plaintiff all profits and property acquired by means of
                                                                                              12 Defendant’s unfair competition with Plaintiff.
                                                                                                        108. Due to Defendant’s conduct, Plaintiff has suffered and will continue to suffer
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                                                                                              13
                                                                                              14 irreparable harm. It would be difficult to ascertain the amount of money damages that
                                                                                              15 would afford Plaintiff adequate relief at law for Defendant’s acts and continuing acts.
                                                                                              16 Plaintiff’s remedy at law is not adequate to compensate it for the injuries already inflicted
                                                                                              17 and further threatened by Defendant. Accordingly, Plaintiff is entitled to preliminary and
                                                                                              18 permanent injunctive relief pursuant to California Business and Professions Code § 17203.
                                                                                              19        109. Defendant’s conduct has been intentional and willful and in conscious
                                                                                              20 disregard of Plaintiff’s rights and, therefore, Plaintiff is entitled to exemplary or punitive
                                                                                              21 damages under the statutory and common law of the State of California in an amount
                                                                                              22 appropriate to punish Defendant and to make it an example of the community.
                                                                                              23                                FIFTH CAUSE OF ACTION
                                                                                              24                                  (Inducement of Trespass)
                                                                                              25        110. Plaintiff realleges and incorporates by reference each of the allegations
                                                                                              26 contained in all preceding paragraphs of this Complaint as though fully set forth here.
                                                                                              27        111. Plaintiff and its affiliates have obtained the rights to the Empire Polo Club for
                                                                                              28 the 2024 Coachella festival and have and will have the right to the exclusive possession of
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                                                                                               1 such venue during the days and times of the Coachella festival.
                                                                                               2         112. Permission to enter the Coachella festival, including its related areas, is
                                                                                               3 restricted to Plaintiff’s invitees and other specified individuals.
                                                                                               4         113. Members of the public who receive Coachella festival passes in violation of
                                                                                               5 the restriction on transfer will be trespassers, as will Defendant for causing the trespass.
                                                                                               6         114. By enabling members of the public to attend Coachella through improperly
                                                                                               7 acquired credentials, Defendant has intentionally and wrongfully intruded, and will
                                                                                               8 continue to intrude, into a private event or inducement thereof.
                                                                                               9         115. Defendant’s conduct as described constitutes an inducement of trespass by
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                                                                                              10 those members of the public who acquire Coachella festival passes from Defendant.
                                                                                              11         116. Plaintiff has suffered, and will continue to suffer, damage resulting from
                                                                                              12 Defendant’s unjustified and wrongful conduct. Such damage includes the trespass into the
                                                                                              13 Coachella festival by people who are not authorized pass holders and harm to Plaintiff’s
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                                                                                              14 goodwill and reputation caused by the negative publicity associated with the need to
                                                                                              15 exclude and eject unauthorized pass holders from entering the private event. Such damage
                                                                                              16 is incalculable and irreparable. Plaintiff is, therefore, entitled to preliminary and permanent
                                                                                              17 injunctive relief.
                                                                                              18                                SIXTH CAUSE OF ACTION
                                                                                              19                                          (Conversion)
                                                                                              20         117. Plaintiff realleges and incorporates by reference each of the allegations
                                                                                              21 contained in all preceding paragraphs of this Complaint as though fully set forth here.
                                                                                              22         118. Plaintiff owns all sponsorship rights in Coachella.
                                                                                              23         119. Defendant substantially interfered with Plaintiff’s property by knowingly or
                                                                                              24 intentionally taking possession of a Coachella sponsorship without Plaintiff’s consent.
                                                                                              25         120. By its acts, Defendant has obtained a Coachella sponsorship that Plaintiff
                                                                                              26 cannot clawback and may have damaged or destroyed Plaintiff’s sponsorship deals with
                                                                                              27 legitimate Coachella beverage sponsors.
                                                                                              28         121. Plaintiff has been harmed in an amount according to proof constituting the
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                                                                                               1 fair market value of the affected sponsorships.
                                                                                               2        122. Defendant’s conduct as described herein was substantial factor in causing
                                                                                               3 Plaintiff’s harm.
                                                                                               4        123. Plaintiff is entitled to the fair market value of the property that is the subject
                                                                                               5 of Defendant’s conversion.
                                                                                               6                              SEVENTH CAUSE OF ACTION
                                                                                               7                                    (Trespass to Chattels)
                                                                                               8        124. Plaintiff realleges and incorporates by reference each of the allegations
                                                                                               9 contained in all preceding paragraphs of this complaint as though fully set forth here.
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                                                                                              10        125. Plaintiff owns all sponsorship rights in Coachella.
                                                                                              11        126. Defendant substantially interfered with Plaintiff’s use or possession of
                                                                                              12 Plaintiff’s property by knowingly or intentionally taking possession of a Coachella
                                                                                              13 sponsorship without Plaintiff’s consent.
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                                                                                              14        127. By its acts, Defendant may have damaged or destroyed Plaintiff’s sponsorship
                                                                                              15 deals with legitimate (and potential) Coachella beverage sponsors, and Defendant’s
                                                                                              16 unauthorized actions have trespassed upon and adversely impacted Plaintiff’s exclusive
                                                                                              17 right to engage in discussions and curate its own choice of sponsorship partners.
                                                                                              18        128. Plaintiff has been harmed in an amount according to proof constituting the
                                                                                              19 fair market value of the affected sponsorships.
                                                                                              20        129. Defendant’s conduct as described herein was substantial factor in causing
                                                                                              21 Plaintiff’s harm.
                                                                                              22        130. Plaintiff is entitled to the fair market value of the property that is the subject
                                                                                              23 of Defendant’s trespass.
                                                                                              24                                 REQUEST FOR RELIEF
                                                                                              25        WHEREFORE, Plaintiff requests judgment against Defendant as follows:
                                                                                              26        1.     That the Court enter a judgment against Defendant that Defendant has:
                                                                                              27               a. Infringed the rights of Plaintiff in the COACHELLA Marks, which have
                                                                                              28                  been federally registered, in violation of 15 U.S.C. § 1114(1);
                                                                                                                                               21
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                                                                                               1              b. Infringed the rights of Plaintiff in the COACHELLA Marks in violation of
                                                                                               2                 15 U.S.C. § 1125(a);
                                                                                               3              c. Created as false association with Plaintiff and the COACHELLA Marks;
                                                                                               4              d. Engaged in false or misleading descriptions and representations of fact
                                                                                               5                 constituting false advertising in violation of 15. U.S.C. § 1125(a);
                                                                                               6              e. Engaged in conversion and trespass to chattels with respect to obtaining a
                                                                                               7                 Coachella beverage sponsorship and damaging or destroying the value of
                                                                                               8                 Plaintiff’s sponsorships with others;
                                                                                               9              f. Induced trespass in violation of California common law;
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                                                                                              10              g. Engaged in unfair competition in violation of California Business and
                                                                                              11                 Professions Code §§ 17200, et seq. and California common law; and
                                                                                              12              h. Engaged in untrue or misleading advertising in violation of California
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                                                                                              13                 Business and Professions Code §§ 17500, et seq. and California
                                                                                              14                 common law.
                                                                                              15        2.    That each of the above acts was willful.
                                                                                              16        3.    That the Court issue a temporary restraining order, preliminary injunction, and
                                                                                              17 permanent injunction enjoining and restraining Defendant and its agents, servants,
                                                                                              18 employees, successors and assigns, and all other persons acting in concert with or in
                                                                                              19 conspiracy with or affiliated with Defendant, from:
                                                                                              20              a. Engaging in any activity that infringes Plaintiff’s trademark rights,
                                                                                              21                 including advertising, promoting, marketing, selling and offering for sale
                                                                                              22                 any goods or services in connection the COACHELLA Marks or any
                                                                                              23                 confusingly similar mark, including conducting a promotional event such
                                                                                              24                 as the one currently titled “Safety Shot House” within 100 miles of
                                                                                              25                 Coachella or within five days before or after Coachella begins or ends;
                                                                                              26              b. Offering or attempting to offer to buy, sell, trade, or transfer or soliciting
                                                                                              27                 the purchase, sale, trade, or transfer of any pass or any other thing entitling
                                                                                              28                 access to any part of the Coachella festival;

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                                                                                               1               c. Participating in, aiding, or inducing, or attempting to participate in, aid, or
                                                                                               2                   induce, any effort by any person to trespass or gain unauthorized entry into
                                                                                               3                   any part of the Coachella festival;
                                                                                               4               d. Advertising or publishing any offer to give away, award, or in any way
                                                                                               5                   transfer passes or any other thing entitling access to any part of the
                                                                                               6                   Coachella festival;
                                                                                               7               e. Making any false or misleading statements regarding Coachella, including
                                                                                               8                   those that would create any association with Defendant or imply any kind
                                                                                               9                   of endorsement or sponsorship (or lack thereof);
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                                                                                              10               f. Receiving any compensation, whether in money, in kind, or otherwise, for
                                                                                              11                   any of the acts proscribed in subparagraphs (a)-(e) above;
                                                                                              12               g. Engaging in any unfair competition with Plaintiff; and
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                                                                                              13               h. Engaging in any deceptive acts, including untrue, false, or misleading
                                                                                              14                   advertising.
                                                                                              15        4.     Requiring Defendant, its agents, servants, employees, successors and assigns,
                                                                                              16 and all other persons acting in concert with or in conspiracy with or affiliated with
                                                                                              17 Defendant, to: (a) inform any recipients of Festival passes from Defendant or its agents,
                                                                                              18 that the use, transfer, or sale of such passes is unlawful, automatically renders the passes
                                                                                              19 void, and subjects the pass holders to ejection from the Coachella Festival as trespassers;
                                                                                              20 and (b) provide to Plaintiff sufficient information to cancel and refund all Coachella passes
                                                                                              21 given away or intended to be given away or otherwise transferred by Defendant.
                                                                                              22        5.     That Plaintiff be awarded damages for Defendant’s trademark infringement,
                                                                                              23 false designation of origin, false advertising, and unfair competition and that these damages
                                                                                              24 be trebled due to Defendant’s willfulness, in accordance with the provisions of
                                                                                              25 15 U.S.C. § 1117.
                                                                                              26        6.     That Plaintiff be awarded all profits resulting from Defendant’s infringement
                                                                                              27 of Plaintiff’s rights and by means of Defendant’s false advertising and unfair competition
                                                                                              28 with Plaintiff.
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                                                                                               1        7.    That Plaintiff be awarded the costs of any corrective advertising it undertakes
                                                                                               2 to dispel any confusion or false association created by Defendant’s unlawful acts.
                                                                                               3        8.    That Plaintiff be awarded the value of a Coachella beverage sponsorship.
                                                                                               4        9.    That Plaintiff be compensated for any diminished value of any existing
                                                                                               5 Coachella sponsorship whose value was diminished or damaged by Defendant’s acts;
                                                                                               6        10.   That Defendant be ordered to account for and disgorge to Plaintiff all amounts
                                                                                               7 by which Defendant has been unjustly enriched by reason of Defendant’s unlawful actions.
                                                                                               8        11.   That Plaintiff be awarded exemplary and/or punitive damages by reason of
                                                                                               9 Defendant’s unlawful actions.
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                                                                                              10        12.   For pre- and post-judgment interest on all damages.
                                                                                              11        13.   That the Court award Plaintiff its reasonable attorneys’ fees pursuant to
                                                                                              12 15 U.S.C. § 1117, California law, and any other applicable provision of law.
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                                                                                              13        14.   That the Court award Plaintiff its costs of suit incurred herein.
                                                                                              14        15.   For such other or further relief as the Court may deem just and proper.
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                                                                                              16 DATED: January 19, 2024                      Tucker Ellis LLP
                                                                                              17
                                                                                              18                                              By:    /s/Steven E. Lauridsen
                                                                                              19                                                     Steven E. Lauridsen
                                                                                                                                                     David J. Steele
                                                                                              20                                                     Howard A. Kroll
                                                                                                                                                     Dina Roumiantseva
                                                                                              21
                                                                                                                                                     Attorneys for Plaintiff,
                                                                                              22                                                     Coachella Music Festival, LLC
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                                                                                              1                              DEMAND FOR JURY TRIAL
                                                                                              2       Plaintiff demands a trial by jury for all issues so triable.
                                                                                              3
                                                                                              4 DATED: January 19, 2024                       Tucker Ellis LLP
                                                                                              5
                                                                                              6                                               By:    /s/Steven E. Lauriden
                                                                                              7                                                      Steven E. Lauridsen
                                                                                                                                                     David J. Steele
                                                                                              8                                                      Howard A. Kroll
                                                                                                                                                     Dina Roumiantseva
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                                                                                                                                                     Attorneys for Plaintiff,
                   Chicago ♦ Cleveland ♦ Columbus ♦ Los Angeles ♦ San Francisco ♦ St. Louis




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